 IN THE UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT
                         OF TENNESSEE
                  FOR THE NASHVILLE DIVISION


TRAVETTE TARA VASSER,

          Plaintiff,
                                               Case No: _________________________
v.
                                               JURY DEMANDED
DMB AMESBURY SPRINGFIELD, LLC
CGJ SPRINGFIELD LLC
SPRINGFIELD ASSET MANAGEMENT,
LLC

            Defendants.




                                    COMPLAINT



          Comes now, Travette Tara Vasser, by and through counsel, and files this

her complaint against Defendants, jointly and severally and in support thereof

would show the following:

                            JURISDICTION AND VENUE

     1.         This is a civil action seeking monetary damages for bodily injuries

      sustained by plaintiff, Travette Tara Vasser, (hereinafter “Travette”) on

      February 10, 2023, as a tenant        living on the 2nd floor of Springfield

      Apartment complex at Mission Rock, 3726 Manson Pike Murfreesboro,

      Rutherford County, Tennessee 37129, when she opened the door of her



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      apartment to step out at night, observed the staircase was very dark, and

      slipped on a dark coffee-like substance on the uneven floor, as she walked

      towards the short hallway from her apartment towards the beginning of the

      staircase, that was dimly and poorly lit. As Travette moved towards the

      staircase, a black metal piece that protruded from the damaged guard rail,

      from the first step of the stairs, caused her to trip, slipped at the very top,

      tumbled down 18 steps to the ground floor of the concrete floor, and

      suffered multiple injuries that were life threatening.

2.    Jurisdiction of the court is founded on diversity of citizenship and amount.

      Travette is a citizen of the state of Tennessee. Defendants Amesbury

      Springfield, LLC, CGJ Springfield LLC and Springfield Asset Management

      LLC are all citizens of the state of Delaware with principal offices in San

      Francisco, California. The matter in controversy exceeds, exclusive of

      interest and costs, the sum specified by 28 U.S.C. 1332. Venue is proper in

      United States District Court, Nashville Division.

                           SAVINGS STATUTE

                              TCA 28-1-105

3.      Plaintiff originally filed this civil action in the Circuit Court of Davidson

County in the Twentieth Judicial District in Nashville Tennessee. The case was

assigned to Judge Lynne Ingram in the 8th Circuit. The Complaint for damage

was timeously filed on January 18, 2024, well before the expiration of one year

statute of February 10, 2024. On February 2, 2024, Summons were issued to




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each of the three defendants and served by the Sheriff of Knox County on

February 9, 2024.

4.      On March 8, 2024, William S. Walton, from Butler Snow LLP filed a

motion to dismiss plaintiff’s complaint because of improper venue. The motion

was fully briefed and after a hearing on April 4, 2024, Judge Lynne Ingram

granted defendants’ motion for dismissal without prejudice. On April 11, 2024,

a final order of dismissal without prejudice was entered by Judge Lynne

Ingram.

                                                PARTIES

5.    Defendant DMB Amesbury Springfield, LLC (hereinafter “DMB”) was at the

material time in possession, owner, lessor, agent, manager, operator, independent

contractor, and entity in charge of managing the property known as Springfield

Apartment Complex, Mission Rock, 3726 Manson Pike Murfreesboro, TN 37129. DMB

is a Delaware limited liability company with its principal place of business in 37 Graham

Street, Suite 200B, San Francisco, CA 94129-1724. Its local agent for service of process is CT

Corporation System 300 Montvue Road, Knoxville, Tennessee, 37919-5546.

6.    Defendant CGJ Springfield, LLC (hereinafter “CGJ”) was at the material time in

possession, owner, lessor, agent, manager, operator, independent contractor, and

entity in charge of managing the property known as Springfield Apartment Complex,

Mission Rock, 3726 Manson Pike Murfreesboro, TN 37129. DMB is a Delaware limited

liability company with its principal place of business in 37 Graham Street, Suite 200B, San

Francisco, CA 94129-1724. Its local agent for service of process is CT Corporation System 300 Montvue

Road, Knoxville, Tennessee, 37919-5546.

7.    Defendant Springfield Asset Management, LLC (hereinafter “Asset”) was at the

material time in possession, owner, lessor, agent, manager, operator, independent


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contractor, and entity in charge of managing the property known as Springfield

Apartment Complex, Mission Rock, 3726 Manson Pike Murfreesboro, TN 37129. Asset

is a Delaware limited liability company with its principal place of business in 37 Graham

Street, Suite 200B, San Francisco, CA 94129-1724. Its local agent for service of process is CT

Corporation System 300 Montvue Road, Knoxville, Tennessee, 37919-5546.

                                          FACTS

8.    On or around February 10, 2023, Travette was a tenant living on the 2nd

floor of Springfield Apartment complex at Mission Rock, 3726 Manson Pike

Murfreesboro, TN 37129. At night, she opened the door of her apartment to

step out and observed the staircase was very dark. In addition, the short

hallway from her apartment towards the beginning of the staircase was dimly,

poorly lit and uneven surface. As Travette moved towards the staircase, she

slipped on a dark coffee-like substance on the uneven floor. As Travette

slipped, a black metal piece that protruded from the damaged guard rail, from

the first step of the stairs, caused her to trip, slipped at the very top, tumbled

down 18 steps to the ground floor of the concrete floor, and suffered multiple

injuries that were life threatening.

9.    After her fall, Travette observed that the dark stairway was caused by

malfunctioning lighting that had previously been brought to the attention of

the owners and managers of the apartment complex multiple times, and they

failed and or neglected to fix or effect necessary repairs to correct the problem.




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10. The protruding metal detached from the stairway had dark brownish

      coloration indicating the condition had existed for an exceedingly long time.

      The uneven surface had footmarks that lead everywhere and stains

      discoloration indicating the condition had existed for an exceedingly long

      time and ought to have put the apartment management and owners on

      notice. Plaintiff avers that defendants have a poor record of apartment

      maintenance, especially, removal of hazardous conditions brought to their

      attention:

Particulars

a.    Email of April 9, 2021, to Meaghan Taylor that complained of hazard

      broken glass and pills next to her apartment door that laid there for three

      days and maintenance crew failed to remove it.

b.    Email of November 17, 2021, addressed to one Angela J. English, property

      manager,     asking   for   cleaning    of   hazardous    condition   with   “nasty

      breezeway” before thanksgiving was acknowledged, and nothing was done.

c.    Email correspondence of November 17, 2021, with Angela English,

      property manager, referenced sandwich package left by the stairway for

      weeks and which could have been stuck to the concrete that was not

      cleaned by the maintenance.




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d.    Another email to Meaghan Taylor, assistant property manager, referenced

      maintenance blowing dirt into plaintiff’s rug and left it in a hazardous

      condition where she could trip was left without any action.

e.    Email of April 29, 2022, sent to Meaghan Taylor and Angela J. English,

      property manager, of hazards created by dog feces on handicap parking lot

      right by plaintiff’s vehicle, was not responded to until May 2, 2022.

f.    Email of June 4, 2022, between Angela English property manager,

      referenced damages items in their correspondence.

g.   Email of July 18, 19 2022 and August 22, 2022, plaintiff complained of

      multiple safety issues on the premises to Angela English and received

      threat of eviction.

 11. That the areas around the staircase where these hazards existed were

      regularly trafficked by tenants, employees, maintenance crew, and

      managers     of   the     apartment    complex.        Numerous    complaints      of

      malfunctioning      lighting,   conditions   of   the   uneven    floor,   negligent

      construction, damaged and protruding, rusted, aging metal pipe, slippery

      floor, footprints of spilled substances that had stayed too long on the floor,

      constitute reasonable and sufficient notice to the apartment management,

      owners, maintenance crew and employees that they ought to have repaired

      the malfunctioning lighting and clean the staircase. The negligence of

      employees and management of the apartment complex is imputed to

      defendants DMB, CGJ and Asset jointly severally.




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12. Further on the above, Travette avers that DMB, CGJ and Asset were

      negligent in selection, hiring of management, failed to train and or

      negligently trained their employees, negligently supervised employees, and

      management. It was this negligence by DMB, CGJ and Asset that caused

      the accident, and the injuries suffered by Travette.

13. Prior to the accident, the lack of maintenance and reckless disregard for

      the safety of tenants by management and employees were so pervasive that

      that they are imputed to DMB, CGJ and Asset. That this collective

      negligence, individually and severally were the cause of the accident.

14. PARTICULARS OF NEGLIGENCE OF DFENDANTS DMB, CGJ AND
ASSET’S ACTION WAS AN INTENTIONAL ACT DONE TO CAUSE
DELIBERATE AND INTENTIONAL INJURY

        Breach of Duty to Take Reasonable Steps to Protect Tenants


              a. Defendants DMB, CGJ and Asset have a duty to protect tenants
                 like Travette. Their dereliction of duty was the proximate cause
                 of the accident and injuries suffered by Travette.
              b. DMB, CGJ and Asset were negligent in hiring and training their
                 employees in maintenance of the apartment complex. It was
                 this negligence that caused the accident and the injuries
                 suffered by Travette.

15.    Second Cause of Action Against Defendants DMB, CGJ and Asset:

Negligent Failure to Supervise Employees and Inspect Premises.
            a.    DMB, CGJ, Asset its managers, and agents have a duty to

      supervise its employees and inspect their premises to ensure they are free

      of hazards.

              b.    Had DMB, CGJ and Asset properly supervised their managers

      and employees, they would have discovered the complex was full of



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    hazards. Their negligence and failure were the proximate cause of the

    accident and injuries suffered by Travette.

              c.    Plaintiff pleads respondeat superior and avers that DMD, CGJ

    Asset are liable to Travette for the negligence of their employees,

    management and agents as the relationship between DMB, CGJ and Asset

    meet the following threshold: (1) the right to control the conduct of the work, (2) the

    right of termination, (3) method of payment, (4) whether or not the workers furnish their

    own helpers, (5) whether or not the workers furnish their own tools, (6) self-scheduling of

    working hours, and (7) freedom to render services to other entities.


16. Third Cause of Action Against DMB, CGJ and ASSET: Negligent failure

    to warn of a dangerous condition after Actual or Constructive Knowledge.

    DMB, CGJ, ASSET, management and other employees knew or ought to

    have known of malfunctioning lighting, damaged, protruding, rusting,

    metal pipes of the staircase, and uneven, slippery floor leading to the

    staircase that they constitute hazards and dangerous condition for tenants

    and other visitors on the premises. Their inadequacy and negligence are

    imputed        to   their    employers   DMB,     CGJ,     ASSET,      their    employers.

    Consequently, they are liable jointly and severally to Travette.

    Fourth Cause of Action Against DMB, CGJ and ASSET

17. At the time of the accident, there were no warning signs to alert tenants of

    the hazards on the staircase. Defendants DMB, CGJ, ASSET, managers

    and    agents       had      the   management       and     supervisory        duties   and

    responsibilities after actual or constructive knowledge to safeguard the


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      premises from negligent acts, especially malfunctioning lighting, protruding

      rusting pipe and slippery floor on the premises to protect tenants and

      visitors on the premises. Defendants were jointly and severally negligent

      and breached their duties and responsibilities to warn and/or safeguard

      the premises and are personally liable to Travette for her injuries and

      damages.

         Fifth Cause of Action against DMB, CGJ and ASSET:                 Negligent
        infliction of emotional distress.

18. Said Defendants knew or should have known of the existing hazards and

      the dangerous conditions they constitute for tenants and visitors to the

      premises. Defendants negligently breached their duty of care owed to

      Travette. It was foreseeable that emotional harm would result therefrom.

19.     Sixth Cause of Action against DMB, CGJ and ASSET: Common law

      dangerous conditions due to uneven surfacing, protruding metal piece

      along the surface, foreign substances on the floor and insufficient

      lightning, most especially, the common area around the staircase, where

      plaintiff was injured.

20. Plaintiff avers that the common law dangerous conditions created by

      defendants’ negligence jointly and severally was the proximate cause of the

      accident and injuries suffered by Plaintiff.

                                 Punitive Damages

21. Plaintiff shall rely on defendants’ poor maintenance record, indifference,

and frequent refusal to remove hazardous conditions brought to the notice of




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defendants to support its claim that defendants have a reckless disregard for

the safety of others to justify award punitive damages.

                                  Actual Damages

22. As a direct, proximate result of the negligence, gross negligence and willful

    and wanton conduct of defendants, Travette suffered the following injuries:

   • Two broken ankles with multiple fractures in both ankles left and
     right with ligament, tendons, tear in one ankle and Achilles
     tendon in both ankles.
   • Injured Right, left Shoulder and neck.
   • Bruised left arm.
   • Carpal tunnel gloves bent into left arm.
   • Big bruise on the butt
   • Lower Back injuries
   • Hurt and pain in her entire body.
   • Extensive admission in the hospital for 30 days and critical care
     rehabilitation for 30 days.
   • Psychological and emotional injuries, set forth herein that will remain
      with her for the rest of her life.

                                 ATTORNEY’S FEES

23. As an alternative to its cause of action against defendants, Plaintiff relies
on the provision of apartment lease contract of May 3, 2022, and avers that the
parties intend to be bound by provisions of Tennessee’s Uniform Residential
and Landlord Act. That defendants’ reckless disregard for safety on the
premises makes them liable for attorney’s fees contractually and under the
statute TN Code 66-28-502(d).

                                      RELIEF

      WHEREFORE, Plaintiff prays for judgment individually and collectively



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